329 F.2d 647
    Joseph P. MAUGERE, Appellant,v.UNITED STATES of America.
    No. 14726.
    United States Court of Appeals Third Circuit.
    Submitted April 7, 1964.Decided April 14, 1964.
    
      Joseph P. Maugere, pro se.
      David M. Satz, Jr., U.S. Atty., Newark, N.J.  (Donald Horowitz, Asst. U.S. Atty., on the brief), for appellee.
      Before KALODNER, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      On review of the record we find no error.  The Order of the District Court will be affirmed.
    
    